  Case 22-02822         Doc 21   Filed 04/21/22 Entered 04/21/22 07:25:05          Desc Main
                                   Document     Page 1 of 1



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

IN RE:                                        )   BANKRUPTCY CASE
                                              )
NATALIE R HINESLEY,                           )   NO.: 22-02822-TAB
                                              )
         Debtor.                              )   CHAPTER 13
                                              )
                                              )   JUDGE: TIMOTHY A. BARNES
                                              )


             ENTRY OF APPEARANCE AND REQUEST FOR ALL NOTICES

        The undersigned, a duly qualified attorney admitted to practice before this Court, hereby
states his/her appearance on the within captioned matter on behalf of The Huntington National
Bank successor by merger with FirstMerit Bank, NA, and/or its assigns and requests all notices,
pleadings, motions, orders, applications and other documents filed and/or served in this case be
sent to him/her at the following address:



                                     /s/ Dana O'Brien
                                     Dana O'Brien
                                     ARDC # 6256415
                                     McCalla Raymer Leibert Pierce, LLC
                                     1 N. Dearborn Suite 1200
                                     Chicago, IL 60602
                                     (312) 346-9088


Dated: April 21, 2022




NOA
